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                            UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

In re CASSAVA SCIENCES, INC.             §
SECURITIES LITIGATION                    § Master File No. 1:21-cv-00751-DAE
                                         §
                                         § CLASS ACTION
This Document Relates To:                §
                                         §
         ALL ACTIONS                     §
                                         §
                                         §


 [PROPOSED] ORDER GRANTING AGREED MOTION REGARDING EXTENSION
 OF TIME TO FILE A RULE 12(f) MOTION REGARDING DEFENDANTS’ ANSWER




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         This Court, having considered the Agreed Motion Regarding Extension of Time to File a

Rule 12(f) Motion Regarding Defendants’ Answer, hereby GRANTS the motion and ORDERS

the following:

         Lead Plaintiff Mohammad Bozorgi and additional plaintiffs Ken Calderone and Manohar

Rao (“Plaintiffs”) deadline to respond to Defendants’ Answer is extended to January 31, 2024.

         IT IS SO ORDERED.

DATED: Austin, Texas, ______, 2024          ____________________________________
                                            DAVID ALAN EZRA
                                            SENIOR UNITED STATES DISTRICT JUDGE




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